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             07/28/2021 "See News Release 033 for any Concurrences and/or Dissents."



                The Supreme Court of the State of Louisiana
   IN RE: MARTIN EDWARD REGAN, JR.
                                                                   No. 2021-OB-00370


                                         ______

   IN RE: Disciplinary Counsel - Applicant Other; Petition for Transfer to Disability
   Inactive Status Pursuant to Rule XIX, Sec. 22;
                                       ______

   July 28, 2021


   Transferred to interim disability inactive status. See order.
                                            JLW
                                            JDH
                                            SJC
                                            JTG
                                            WJC
                                            JBM
                                            PDG




   Supreme Court of Louisiana
   July 28, 2021

       Chief Deputy Clerk of Court
              For the Court
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   07/28/21

                                 SUPREME COURT OF LOUISIANA

                                          NO. 2021-OB-0370

                                   IN RE: MARTIN E. REGAN, JR.



                                                ORDER



          Considering the Petition for Transfer to Disability Inactive Status filed by the Office of

   Disciplinary Counsel, and the responses thereto filed by respondent,

          IT IS ORDERED that Martin E. Regan, Jr., Louisiana Bar Roll number 11153, be and he

   hereby is transferred to interim disability inactive status pending an expedited hearing before a

   hearing committee pursuant to Supreme Court Rule XIX, § 22.

          IT IS FURTHER ORDERED that within fifteen days of the conclusion of the hearing, the

   hearing committee shall file its report and recommendation, under seal, in this court, addressing

   the committee’s specific findings with regard to whether respondent should be transferred to

   disability inactive status. All disciplinary proceedings shall be stayed pending this determination.



          NEW ORLEANS, LOUISIANA, this _____ day of ________________________, 2021.



                                         FOR THE COURT:



                                         ________________________________________
                                         JUSTICE, SUPREME COURT OF LOUISIANA
